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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN                                         4
                                                                                                I , _-


UNITED STATES OF AMERICA                                      INDICTMENT

              V.                                   Case No.    21         CR Q4 9         JUP
                                                              18 U.S.C. § 2252(a)(2)
BRETT BLOMME,

                            Defendant.


THE GRAND JURY CHARGES:

                                         COUNTl

       On or about October 30, 2020, in the Western District of Wisconsin, the

defendant,

                                    BRETT BLOMME,

knowingly distributed a visual depiction using any means or facility of interstate and

foreign commerce, and the production of such visual depiction involved the use of a

minor engaging in sexually explicit conduct, and the depiction was of such conduct.

Specifically, the defendant sent a file beginning with ub7137c9f," an image of a minor

engaged in sexually explicit conduct, to another user via Kik Messenger.

             (In violation of Title 18, United States Code, Section 2252(a)(2)).

                                         COUNT2

      On or about November 1, 2020, in the Western District of Wisconsin, the

defendant,

                                    BRETT BLOMME,

 knowingly distributed a visual depiction using any means or facility of interstate and

 foreign commerce, and the production of such visual depiction involved the use of a
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  minor engaging in sexually explicit conduct, and the depiction was of such conduct.

 Specifically, the defendant sent a file beginning with "ee716626," an image of a minor

         engaged in sexually explicit conduct, to another user via Kik Messenger.

              (In violation of Title 18, United States Code, Section 2252(a)(2)).

                                FORFEITURE ALLEGATION

       As a result of the offense charged in Counts 1 and 2 of this indictment, and upon

conviction for violating Title 18, United States Code, Section 2252(a)(2), pursuant to Title

18, United States Code, Section 2253, the defendant,

                                        BRETT BLOMME,

shall forfeit to the United States his right, title, and interest in:

       (1) Any and all visual depictions which contain images which are or appear to

be child pornography, together with the storage media in which they are contained, and

       (2) any and all property used or intended to be used to commit or to promote the

commission of the aforementioned offense, including property specifically described as

one gray Apple iPhone with yellow protective cover, serial number F17CDZABN6XR.



                                             ATR~                 -=- - - -
                                             PRES             ROR

                                             Indictment returned:       0~ / t   z,lZf
         nited States Attorney




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